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l DALE K. KLEVEN, ESQ.
Nevada Bar No. 007778

 

 

 

2 Homeowner Reiiet` lawyers L-LC
555{) Painted Mirage Road, Suite 320
3 Las Vegas, NV 89!49
Phone 702-589-7520
4 Fax 702-577’-1975
Emaii: daie@hrlnv.corn
5 Artomeyfor Crecfito.="/Landlord Neczl Po[czchek
6
7 UNITED STATES BANKR`UPTCY COURT
8 ])ISTRJCT OF NEVADA
9 in r@; ease NO. 17-1644s-ABL
10 Chapter 13
` IMAD FRANK KATTAN,
ii Debtor.
12
13
14 M`O'I`ION FOR RELIEF FRUM AUTOMATIC STAY., AND F()R BANKRUPTCY
15 SANCTIONS, ON ORDER SHORTENING TIME
16 Creditor/Landiord NEAL POLACHEK., by and throuin his attorneys at Homeowrier

17 Rciief Lawyers LLC, respectfully moves this Court for an order lifting the automatic Stay to

permit creditor/Landlord NEAL PO_LACHEK to pursue summary eviction proceedings against

 

     

20 Sti'eet, Las Vegas, NV 89149; and for baokruptcy sanctions under Rule 9011, on Order

21 Shortening Tirne.

22 This i\/iotion is brought pursuant to subsection 362(6)(§) and (2) of the Barikruptcy Code
23 and Bankruptcy Locai Rules 4001(3), 9006, 9011, and 90l4 to Set aside the Autorrlatic Stay and
24 to allow creditor NEAL POLACHEK to pursue summary eviction proceedings against debtor in
25 the state’s Las Vegas lustice Court. Movant also requests, pursuant to Rule 4001(3.)(3) of the
26 Bankru.ptcy Ruies that the Court’s Order take effect immediateiy, and that ten (l O) day Stay

27 period set forth therein expressly not apply

23 ///

 

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Creditor NEAL POLACHEK alleges as follows:

Creditor is the owner and landlord of residential real property located at 6830 Relic
Street, has Vegas, NV 89149. See Assessor Page Printout, attached hereto as Exhibit I. On or
about June 30, 2012, Debtor FRANK KATTAN entered into a lease ofthe property at 6830
Relic. See Residential Lease, attached hereto as Exhihit 2. The lease was originally for a two
year tei'rn, with annual renewals thereafter.

Dehtor has substantially fallen behind on his rent payments For calendar 20l6 and
2017, Debtor owes $19,165.00 in back rent plus 54100 in late fees per the lease In fact, Debtor
has made only two payments towards rent during calendar 2017, and one was a partial payment

ln August, Creditor posted a five day notice to pay rent or quit and proceeded to tile for
an eviction, but Debtor filed for Banl<ruptcy right before the hearing (Case No. l7-l443 l»ABL).
Creditor filed a motion t`or relief front automatic stay, and received an order allowing the
eviction to proceed (See, Order lifting Stay, attached as Exhihit 3).

Ap_parently, on November 22, 20l7 Dehtor’s case was dismissed

Creditor waited the requisite amount ot` stay time before posting a new Five Day Notice.
See 5 day noticej attached hereto as Exhibit 4. (See also photo of posted 5 day notice, attached

hereto as Exhibit 5, and Certit`icate of mailing ol`$ day notice, attached hereto as Exhibit S).

 

 

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bankruptcy protection, an filed an Answer in Opposition to Suinmary Eviction, along with an

application to proceed in Forrna Pauperis and a Notice ot`Bankuptcy,

Even though l\/[r. Polache.k is not listed in the bankruptcy filings as a Creditor, Movant,
NEAL POLACHEK, is an unsecured creditor and Was the Plaintiff in the first and now the
second eviction case, which were closed by the Las Vegas Justice Court upon dehtor’s filing of
a Notice or` Banl<ruptcy. Creditor is dealing with HOA issues and is attempting to sell the
property but cannot do so while Debtor is in possession of the house Creditor has no adequate
protection for his collateral and hence, this Motion is necessary

Efforts to Resolve Before Filing Motion (LR 4001(21)(2)}

On Deceinber 6, 20l7 Creditor’s counsel called and sent a text message to the two

2

 

 

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`Efforts to Resolve Before Filing Motion (LR 4001(21)(2})

On Deceniber 6, 201”7 Creditor’s counsel called and sent a text message to the two

 

 

 

 

 

 

 

 

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3 numbers provided by chtor on his filings for the purpose of trying to resolve the matter and to
4 discuss a voluntary lift of the Autoinatic Stay. l)ebtor did not answer but called back and offered
5 to withdraw his bankruptcy petition if counsel agreed to withdraw the Five Day Notice to pay or
6 quit. Counsel rejected the offer.
'; H.
g radius ARGUMENT
9 The Automatie Stay May Be Ternn'nated Upon a Showing 0£ Cause and to Prevent
lrreparable Dainage to the Interest of an Entity.
10
11 Bankruptcy Code Section 362(d) provides, in pertinent part, as follows:
(d) On request of a party in interest and after notice and a hearing the court
12 shall grant relief from the stay provided under subsection (a) of this section, such
as by tenninating, annuiling, modifying or conditioning such stay -
13 (l) for cause, including the lack of adequate protection of an interest
in property of such party in interest;
14 (2} with respect to stay of an act against property under subsection (a)
of this section, if~
15 (A) the debtor does not have an equity in such property; and
(B) such property is not necessary to an effective
15 reorganization;
17 (t`) ll`pon request of a party in interest, the court2 with or without a hearing
shall grant such relief front the stay provided under subsection (a) of this section
13 as is necessary to prevent irreparable damage to the interest of an entity in
.i".i:.j_jj '__'§‘_"jnro'nertv;“'rt snch"jii;l,_ will suffer such damage berne " " ~ . '
19 for notice and a hearing under subsection (d) or (e) of this section
20 Banl<ruptcy Code § 362(d)(1) and (2), and (t).
21 Pursuant to Section 362(g) ot` the Bankroptcy Code, the debtor has the burden of proof
22 on all issues, except the issue of the debtor’s equity in the Property. SE, In re Gauvin, 24 B.R.
23 578, 580 {B.A.P. 9‘1‘ Cir. 1982).
24 Debtor has been using the bankruptcy court in order to remain in his rental horne without
25 paying rent, since August 2017. The bankruptcy protections are not intended for that purpose
26 He filed for Chapter 7 protection in 2013 (Case No.: 13-11367-11)1'), and for Chapter 13
27 protection in August 20l7 (Case No.: 17-14431-abl), and then again in Decernber 2017 (Case
23 No: 17-16448-abl).

 

 

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Here, creditor has no adequate protection for his interests: the underlying unsecured debt
as weil as possession ot` the property More importantiy, Creditor/Landlord NEAL
P()LACHEK’s HOA is assessing fees and fines against the property for violatoins caused by
Debtor. Additionaliy, Creditor/Landlord entered into an agreement with the HOA to pay there a
reduced settlement sum t`or the exorbitant fees and fines already racked up by the Debtor, but the
agreement requires the landlord to cure all violations by the end of the year (Sec, Agreernent
attached). As such, if the requested relief is not granted, Creditor faces the potential of
irreparable damage, including losing the property to HOA foreclosure

WHEREFORE, Creditor NEAL POLACHEK. prays for judgment, as foiiows:

i. For an order granting relief from the Automatic Stay, and permitting creditor NEAL
POLACHEK to pursue summary eviction proceedings against Debtor in state court, for the
property at 6830 Reiic, Las Vegas, NV 89149.

2. For a finding that Rule 4001(a)(3) of the Ruies of Federal Ba'nl<roptcy Procedure is
inappiicable or waived, and that Creditor NEAL POLACHEK may iininediateiy enforce and
implement the order granting relief from the Autornatic Stay.

3. Por sanctions and attorney’s fees in the amount of $1,500 for having to come to court yet

again after receiving an order lifting stay, just because the debtor is abusing the bankruptcy

court.
4. For an order barring the debtor for filing for bankruptcy protection for a year.
5. For any further and/or other relief deemed appropriate by the Coart.

HOMEOWNER ,REL§EF LAWYERS

/S/' Dale Kleven

Daie K. chvcn, Esq.

Nevada Bar No. 007778

5550 Painted Mirage Road, Suite 340
Las Vegas, NV 89149

Atrorneyfor Creditr)r Nea! Pofache/c

 

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AFFIDAVI'E` OF DALE K. KLEVEN, ESQ. IN SUPPORT OF MOTION FOR PARTIAL
RELIEF FROM THE AUTOMA'HC STAY

STATE OF NEVADA }
COUNTY O`F CLARK § SS:
DALE K. KLEVEN, ESQ., being first duly sworn deposes and says as follows:
l. Afi`iant is the attorney of record i`or Creditor/Movant NEAL POLACI~IEK.
2. Creditor/Movant is the legal owner of the address known as 6830 Reiic Street Las
Vegas, NV 89149.

3. Debtor li\/IAD F.RANK KATTAN is a tenant at the above described property

4. Affiant already secured an order lifting stay to evict the debtor.
5. However, as soon as the order was granted, the debtor’s bankruptcy case was dismissed
6. 0n Novernber 28, ZOl'l', Afr_iant posted or caused to be posted, a five day notice to pay

rent or quit, on the door of Debtor at 6830 Relic Las Vegas, NV 89149.

7. The same was also served on debtor via mail sent to that address
8, On Decernber l, 20l7, Debtor filed another bankruptcy petition
9. Affiant spoke With Debtor on the phone and discussed the pending summary eviction

and bankruptcy abuse Tlie debtor offered to withdraw his petition if counsel for creditor

withdrew his five day notice

reach a resolution

li. Creditor/Landlord NEAL POLACHEK’s HOA is assessing fees and fines against the
property for vieiatoins caused by Debtor. Additionally, Creditor/Landlord entered into an
agreement with the HOA to pay them a reduced settlement sum for the exorbitant fees and fines
already lacked up by the Debtor, but the agreement requires the landlord to cure all violations by
the end of the year (See, Agreen'ient attached). As such, ii` the requested relief is not granted,
Creditor faces the potential of irreparable dainage, including losing the property to i‘iOA

foreclosure

 

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1 lZ. This l\/lotion is brought pursuant to Subsection 362(d)(f) and (2)-0‘1" the Bankruptcy Code
2 and Banl<ruptcy Loeai Rules 4001(a), 9006, 901 i, and 9014 to set aside the automatic stay and
3 to allow Creditor to pursue eviction against Debtor in State Court, and to punish the debtor for
4 abusing the bankruptcy stay in order to avoid paying rent

5 13_ Movant also requests, pursuant to Rnle 4001(21)(3) of the Bankiuptcy Rules that the

Conrt’s Order take effect iinrnediateiy, and that ten (lO) day stay period set forth therein

 

 

 

 

 

 

 

     

 

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jr expressly not apply 'i`he debtor has already been the beneficiary of this stay period and used it
3 to dismiss his case and re-tile bankruptcy // j //M"_MW...\X
9 Further your affiant sayeth naught t\W_”/:?¢'f»`§” `V
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DALE K.\KLB'VEE!, ESQ.
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CERTIFICATE OF SERVICE
17

I hereby certify that l ain an employee of Horneowner Reiief lawyers, LLC and that on

 

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from Automatic Stay, on Order Shorrening Time on the parties set forth below via facsimile,

 

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electronic service, email, and/or U.S. mail, addressed as follows:
21
22
IMAD FRANK KA,TTAN RICK A. YARNALL
23 6830 Relic Street 701 Bridger Avenue #829
Las Vegas, NV 89149 Las Vegas, NV 891()1
24 Debtor in Proper Person Trustee
25
26 /s/Kint McGowan
An employee of `HoMnowNnR RELIEF LAWYBRS, LLC
27
23

 

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8123!2017 Clark County Rea| Property

Miche|e W. Shafe, Assessor

REAL PROPERTY PARCEL RECORD

Click Here for a Print Friendly Version

 

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l SAN ANSELMO l
l CA 94950-2122 |
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*Note: On|y documents from September 15, 1999 through present are available for viewing.

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8123/2017 Ciark County Real Properly

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Click here for Flood Contro| Inforrnation.

 

 

 

llESTI|111ATED LOT SIZE AND APPRAISAL INFORMATION

 

 

 

 

 

 

 

 

 

 

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l PRIMARY RESIDENTIAL STRUCTURE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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lASSESSORMAP VIEWING GUIDELINES

 

 

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In order to view the Assessor map you must have Adobe Reader installed on
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NOTE: THIS RECORD IS FOR ASSESSMENT USE ONLY. NO LIABILITY IS ASSUMED
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thereof, reasonable wear and tear excepted. Without limiting the generality of

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(a) Not obstroet the oriveways, sidewalks, eoarts, entryways, stairs aisd/or
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ii) l§eep all Wirrtlows, glassz Wiadow eoveriags, rioors,, ioei<;s aero hardware ia
good, clean order and repair;

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(r`) Keep all air ererlitioeirrg iil_ers eiearr hart tree from oirt;

(g) Keep all lavatories, siolrs, toilets, and all other Water and plorobirig
apparatus iri gooti order and repair and shali use same only for tire purposes for
wirielr they Were eorrstreetetl. iessee shall riot allow any sweepiogs, rubbish,
sara regs as ties easiersabsraaeesrosereewaei-eepesaesraereiaaxis "
damage to arry such apparatus arrri tire cost of dearng stopped plumbing
resulting from misuse shall be borne by Lessee;

{h) Lessee and Lessee's family and guests shall at all times maintain order iri
the Preroises and stall places orr the .Premises, and shall not make or permit
say load or improper noises or otherwise oistorb rieigllbors or other resio¢errts;

,_..-

(i) i§eep all radios, television sets, stereos, phoeographs, ete., turned down to a
level of sound that does riot aorroy or interfere With other neighbors or

resid\eats;

@) Deposir all trash, garbage rubbish or refuse to tire trash eaes priorities
therefor aeri strait riot aiiow any tra.sl:r33 garbage rubbish or refuse to `oe

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tieeesited et permitted te stand ea the e;stetiet et atty butttttag;

51 Ne et`tesatiaas et §at§sseseseeets. Te make ne alterations er additieas to
the butlctiags et improvements ea the `Psemises er eeasttuet any building et
make atty ethet improvements en the Ptemtses without the priest Wtitten
seesth et Lesset’. Aay attd altet'atietls, ehanges, aadfer improvements b'ttilt,
eettstt’usted et piaeed 011 the Ptemises by lessee sbaft, unless ethetwtse
presided by Wt'itten agreemeat between Lesser and Lessee, be and became the
prepet'ty et Lesser and remain en the Ptetrases at the expiration et earlier
tetaaaatien et this Agteeteeat

6.1 Ne Asstgeeteat ss Sai:»tstttstg= Te set assign this estates tease see assist
premises er atty part thereef, Withoat sash previous consent ta Wt‘itieg et
Lesset. Aay treasth by Lesset to otte such assignmeet, sets~tettieg er license
shall set be deemed to be eettse'at te atty subsequent asstgemea.t, seb~ letting
er !;ieeaset esa assigatr'r__ete;z sab~¥;ettteg et tieease thhettt the peter Wt'ttte.a

eeeseat et lesser et as assignment et sab~§etttsg by epetatten et law shall he
abselate}.§f met asst sets aaa shallz at tsesset’s ept.teaj terminate this

Agteemeat.

7, Lesset"s R.tght et Assess. 't`e pettej_t Lesset et Lesser’s agents at ali
reasonable times darteg the term of this Agreeteeat and atty renewal theseef te
estes the Pt'emtses for the pureese et inspecting the Ptetetses and alt entitieth
and improvements thereea fee the purposes et making any repaits, additions er
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elemz.sesertaebuadmgapea § 24(twentyf@ur)hearaseeet@tesseeby
lessee ?he tight et satty shalt likewise exist fee the pareese et stemming

piaeatds, sigas, fiatates, alterations et additions that de net eestetet te this
Agteemeet et te atty sesttietieas; sales et tethIatiens affeetin_g the Pte;n_ises

 

8. Qeeepaae§¢la Te ass and permit te occupy the ?teteises sally by lessee and
Lessee's ismaediate family et tate ether eccepaets itt addition te Lessee,
eselasively, as a activate single tanaly dwelling aaa se part et the Pt'emtses
shall se asset at atty time darng the term et this Agteement by Lessee far the
ps.;fpese et catrinth era atty besittess, pt¢etesstee, et trade et any sits_ds et fee
any purpose ether than as a ptivate single famij dwelliag, unless agreed te is
stating by Lesset. lessee shall net allew atty persons in excess et five (5) total
occupants in the p:teaases to use et eeeapy t"ae Pteaases Wittte'ut first 'e`etaiaieg

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lessees 111/ellen eoaseet.

59. Cem§llaaee Wllll llaWS, Ele,, To comply Witl'i any aacl all laWs, ordlaaoees,
rules and elders of say and all governmental or quasi»~govemmeal:al aathoooes
affeellag the eleanllness, ose, oeeupaoey and preservation of the P1e1111`ses.
llessee shall also comply Wlth any and all provisions el the Covenaolsl
Ceaclltioas & llesalet`loas {C C & Rs) of the llOA er any other sales or
regulations now la existence 111 Whleh 111ay111 1l1e future be promulgates by flee

HOA.

lO. llaaaltleos ll/lalellals. To ao1 keep 1111 lhe Pz'emises say 1te1:11 of a
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the daage1 el fire 111 explosion on the P1e11113es 01 that mighl be eoasldered
hazarooas 111 extra hazardous by any responsible llzsuraaee company

l l, Coaellllea lleoe. Soe;s:eadel“ ol` lee leelolses al ?l`eemlaalloal Ua
termination of lease, to peaeeal)ly yleltl op premises teeth fixtures Wll.leh now
ale 111 at any lime sallee the tele'l shall lee thereon 111 as good and 'teaaetable
eeaclllloo, 111 all respects, feasoaa`ble Wear aaa use sad damage by fate sell
ethel unavoidable easaal‘:les exeel:>’;ecl5 as the same eow a1'e.,

121 Aolmals, l\lo aeleeals shall be allowed.
131 Aololeolllles, Oaly 2 aotomoblles and motorcycles shall be allowed

G_ llESS@R”S PR@WSES AND C@VENANTS llessor ___11_1__ eo11s11l.e1"atlo11 of

 

' `eromzses aaa covenants from llessee agrees a111<l covenants as tollows

ll llossessloo. To deliver to llessee, 011 1he date specified herein for the lease to
eommeeee, possession of the Premlses.

2, Qolel Hejoymeol, 'l`o ensure llessee’s quiet enjoyment of the lremlses
throoghoal the te1111 of this lease

ll lll/ll.l'l`lle,ll ;llllljlll/ll§§§ ANB Q@VENANTS: lt is matoally agIee;l as
follows:

la §§111"§111§ gilleer el the ’l`eeels ead lloetlllloosl Tl1e lease astl eoeclifi:loas

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eeetaieed le this lease ehall apply te and blue the heirs, Saeeeseeta aaa assigns

et the eespeetive parties hereto

2 Wa§yet‘, `Walve§ lay lesser et any agreement er eeatlltie.e herein Shall pet be
considered a Walyet of any Sul)eeqtteat breach et the agteem_eat er eeetlitle_n.

3 §l§etaa“aet§l C§aee;l;_e, lt atty elleel€ fee payment et tent et ether elaligatle_a et
l_,eeeee te lessor is retained e;' net heneretl for aay §eaeee, lessee agrees te
pay a teteme€l./ellaheeeretl eheel<; fee la tee ameeet et TWeaty-Fiye Dellars
($25 .00) aaa te immediately pay _te lessee the fall amount el the
tet‘amed./disheeeted elaeel: le ease op Wlth certifite faade, Oely cashier checks
er meeey orders W;‘tll be aeeepteel by lesser far future rent payments after
lessee has §eeeivetl a cheek fee payment of treat op either el)llgatien eli laeaaee
te lesser Whleh le retained er net heee:‘etl fee any reasee,

4, §a§lat'e le Pay Ree§;¢ if lessee et leaaee‘a representatives er aeaigea fail te
pay peat Wllee cer and Saicl default eentinaea fee three (3) days Leaset er those
having Lesse;f’a estate may, at Leeser‘a eptlea, tleela:te the entire balaaee of
rent payable hereunder te be immediately ter aaa payable and leaaer er these
eavleg lesset“e estate le premises lawfully mayz immediately ear at any time
thereafter, and While each neglect ez: default eentlaaea, pursue aey ead all
remedies allowable ziegler .Neyacla law ta expel lessee aaa te take peaaessien el
the Premises. ll leaser dees take action te regain pesaeaelee el the premises
Said aetiea altall eat prejudice e: limit atty remedies Wl;lela lesser might

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agreemee.t.

5 . Fallea‘e te Ce§eply `Wlth the P§‘Gyisieaa al the E,efaeeai ll lessee falls te
eemply With any eftlle material provisions el this Agreement, other than the
covenant to pay eent, or et any presith rales ana regulations er any that may be
hereafter preserll)etl by Leaser, er materially fails to comply Wlth any duties
imposed en Leaaee by Statate er erdlaaaee, within Seyen (7) daye afte: delivery
of Writtee notice by Lessc)t' Speelfying the llea~eempllance and ledlcatleg the
intention of lessee te terre£eate the Leaae by eease;e tltereel", lesser may
temittate this A§;teemeet and deelaz:e the e“e.tl§‘e balae.ee et tent immediately
title aaa payable aea may exereise atty aaa all rights and remedies available te

lesser at law et la equity

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ti. ble Waiyet‘ et natty leigth lledet” Neyatia listen lessee dees net beteby
Waiye atty rights acdei' Neyada’s eviction laws and it is aedetstced and agreed
by tbe parties hereto that Laedletd’s exercise cf atty remedy eades this
agreement for liessee’s failure te cempl y Witb. atty picyisioe et this agreement
mast be iii accei'da.tice Witli Neyada lawx

7. llesti‘ectiea et tile lli'eittises., la the case that tile premises cr atty past
thereof shall, dating the tet_tti, be destteyed ct damaged by lite er etbet
unavoidable castialty, se as te be tendered aeiit let csc and habitatiea, the test
reserved beieiii, ct a just and proportionate part thetecf, accetdiiig te estate
and extith cf iit;`tti‘ies sastaiiied, shall be suspended et abated until premises
shall have been pat iii _ptcpein ccaditiee let ase and habitatieii by lw,essee, er
these presents shall thereby be determiaed and ended at election of Lessei‘ et

Lessei"s leval i‘e teseittatiyesi
¢T..°.>

8. Sabet'diiiate te Ptiet letet‘ests= This Agi‘eemeiit and Lessee‘s iiitetest
beteaedet ate aed shall be sebetdiaate, janice and ieietici‘ te atty and all
tc_ei‘tgages lie;as et eactiie`btatices new et heteaitet placed eti the P:einises by
Lesset all advances made cadet atty such mortgages liens et encumbi:aaces
(iticladieg bet act limited te itttttte advances) the interest payable eli such
mei'tgages, liens ct eacumbraaces and atty and all teneyi/als,J exteasicris ct
mediiicatieas et such iiiettg_i;agesz li_ees et ericttm.btaeces,

9 Ceetiitttatieti et llease6 lt Lessee remains iii pessessie'a cf the Pteinises
teeth the consent et l,esset alter the aatat'al t;atpi:tat1 ca et this Agteeiiieat a _
tiew tenancy freed meetb tc iriontli shall be created between lessee acid lessee
Whicli shall be subject tc all cf tlte terms and ceeditices hereof aed shall then

be dee aiid edwin g at same rate pet meets as specified herein ibt the ctigieal
teeancy as specified herein except that such tenancy shall be tempiaable spell
fifteen {15) days Wtitteit notice served by eitliet party., Page 5 cf 10

itl. laitaitatiatt el" liiability., l;essei‘ shall nat be liable fee atty damage er injury
cf et te the .liessee? Lessee‘s iamily, gttests, invitees, ageets ct employees er te
atty person entering the Ptemises et the baildiiig cf Whicb tile l-"teitiises are a
part et te geeds ct editipitieat,., ct iii tile stittcttite et e-qaipmeet et tbe attactate
et tyliicli die l’ieeiiises ate a past9 and lessee beteby agrees te iiidetiieify,
defend and held lesser harmless item any and all claims ct assertions cf every

kind and nature

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li.¢rthandonrnent. ii at any tirne mining the terre of this Agreernent lessee
abandons the Preniises or any part thereot`, lessor rnay, at l,essor’s option,
obtain Jpossession of the Prernises in the manner provided by law, and Withoat
becoming liable to lies see t`or damages or for any payment of any l<;ind
ishateyert lessor rnayj at lessors discret.ionz as agent for .l,_,essee5 relet the
Prernises, or any part th_ereot`§ for the Whole or any part thereofs for the Whole
or any part of the then 'anex_nired terrez and rnay receive and collect all rent
payable hy virtue of such reletting, andg at lessors option, hold lessee liable
for any ditterenee between the rent that would hare been payable under this
Agreernent during the balance of the nnespired terrn, it this Agreenrent had
continned in fencez and the net rent for snell period realized lay Lessor lay
means of snell relettin§c lt lessors right of reentry is exercised following
abandonment of the Prernises hy li.essees then Lessor shall consider any
personal property belonging to liahility for doing so. lessee and left on the
Prernises to also have been ahandoned, in Which ease lessor may dispose of
all such personal property in any manner Lessor shall deem proper and lessor

is hereby relieved of all

12. l§eatlr of lessee in the event of Lessee’s death, this lease shall terminate
and all rights of possession shall be restored to Lessor.

l;l, _An§alieahle lease '_i’his Agreernent shall he genrernedz constrned and
interpreted hy, through and tinder the Laws of the State of Nerada.

 

shall , for any reason and to any extent, he invalid or unenforceable neither the
remainder of this Agreenient nor t__e application of the provision to other
persons, entities or circumstances shall he affected therehy, hut instead shall he
enforced to the inanimate extent permitted by law=

l5. No Walyer, No indulgence, Waiyer, election or non-election by Lessor
under this Agreernent shall affect Lessee's duties and liabilities hereunder

lot tEntire Agreernent= Th.e parties hereby agree that this document contains
the entire agreement between the parties and this Agreernent shall not he
modi.tied, eh_anged, altered or amended in any way except through a Written
amendment signed lay all of the parties hereto

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19. Attorneys Fees and Costs, Shonld it become necessary for Lessor or
Lessee to employ an attorney to enforce any of the conditions or covenants
hereof through court aetion, including the collection of rents or gaining
possession of the Premises, the parties hereto agree to pay all expenses so

20. Death of Lessor: This lease and option shall include and insure to and bind
the heirs, executors, administrators, successors, and assigns of Lessee upon the

death of Lessor.

IN WITNESS WHEREOF, Lessor and Lessee have executed this lease on the

30th day of ]une 2012.

LESSEE:

W£od£h,_

Frank Kattan

LESSOR: ?@0 Parar~/ Hs/€.

__',____;_:¢-':_-..;._4':, _ .J ".__

Ron Hillrnan

LESSOR:

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Neal Polachek

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Lori Hi liman Polachek

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1
3 Honorable_August B. Landis
4 United States Bankruptcy Judge
Ell[ered on Docket
51 ember 20, 2017
6
7
8 DALE K. KLEVEN, ESQ.
Nevada Bar No. 007778
9 Relief Lawyers LLC
5550 Painted Mirage Road, Suite 320
10 Las Vegas, N'V 89149
Phone 702-589-7520
11 Fax 702-577-1075
Email: dale@hrlnv.corn
12 Attorneyfor Creditor'/Landlord Neal Pofachek
13
14 UNITED STATES BANKRUPTCY COURT
15 DISTRICT OF NEVADA
16 111 re; ease No. 17-14431-ABL
17 Chapter 13
FRANK KATTAN
18 aka nleD FRANK KATTAN, , j 1 j
19 _' ___ Debto§._`__ _ `__ _ _ __ __ _
20
21 ORDER GRANTlNG CREDITOR!LANDLORD, NEAL POLACHEK’S
MOTION FOR RELIEF FROM AUTOMATIC STAY
22
Creditor/Landlord NEAL POLACHEK’s Motion for Relief from Automatic Stay, having
23
come before the above court on Oetober 4, 2017, at 10:30 am; movant appearing by and through
24
Dale K. Kleven, Esq., of Homeowner Reliet` Lawyers LLC, and Debtor appearing in proper
25
person; the Court having reviewed the motion, the opposition, and the tile, and hearing oral
26
argument from both the movant and the debtor; the Court having found that the motion Was
27
properly filed, noticed, and served; the Court having made its detailed findings of fact and
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conclusions of law on the record at the time of hearing, Which are incorporated herein pursuant

 

 

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to Fed.R.Bankr.P 7052 and 9014, and set forth below in part; for good cause shown, it is hereby:
FOUND that Creditor/Landlord, Neal Polachek’s Motion for Relief nom Autoinatic
Stay (Doc. #12) to allow the pending eviction to proceed, is properly brought and supported in
accordance with Bankruptcy Code Section 362(d)(1).
FOUND that the Debtor filed an opposition to the motion (Doc. #19), which was also

properly filed and served.

FOUND that Cause does exist to grant movant’s motion for relief from stay because:

a. the Debtor lacks equity in the movant’s property;

b. the Debtor has a leasehold interest in movant’s propery;

c. the Debtor’s interest is contingent upon compliance with the lease;

d. the Debtor is in default of his lease with movant;

e. the amount of default is undisputed and significant;

f. the Debtor admits to owing approximately $15,000 in rent arrears;

g. the Debtor remains in possession of the property Without paying rent;
h. the Debtor has continued to not pay rent post petition;

i. the Movant has no adequate protection;

i. the Debtor failed to carry his burden; and

j. the Court can find no equities in favor of Debtor.

ORDERED that pursuant to subsection 362(d)(1) and (2) of the Bankruptcy Code and
Bankruptcy Local Rules 4001(3), 9006, and 9014 Creditor/Landlord’s Motion for Relief from
the Automatic Stay is hereby GRANTED, in part

ORDER_ED that Creditor/Landlord, NEAL POLACHEK may proceed with eviction of

Debtor in State, County, or City courts.

ORDERED that Creditor/Landlord, NEAL POLACHEK’s request for the court to waive
the ten (10) day stay period pursuant to Rule 4001(21)(3) of the Bankruptcy Rules is hereby
DENIED. The order will be effective ten days from the date of hearing

ORDERED that creditor s attorney will prepare the Order and circulate a copy to Debtor

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for approval as to form and content
IT IS SO ORDERED.

DATED this lst day of Novernber, 2017.
Respectfully Subrnitted:
RELTEF LAW Y EIRS LLC

/s/ Dale K. Kleven, Esq.
DALE K. KLEVEN, ESQ.
Nevada Bar No. 007778
5550 Painted Miragc Rd., Suite 320
Las Vegas, Nevada 89149

Dale@hrlnv.com
Artorneyfor Creditor/Landlord Neal Polachek

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FIVE-DAY NOTICE TO PAY RENT OR OUIT
(an 40.253)
TO: FRANK KATTAN, and ALL OTHER OCCUPANTS FROM: Homeowner‘ Relier Lawyer‘$, LLC
i"encr)tt(s) Nar:re(.r) La'l:a'lordir Name
6839 RELIC STREET 5559 Painted Mir‘a_ge Rd., Suite 329
Address Aa'dre.rs

LBS Vega$,_ NV 89197 LHS Vegas, N'V 89149
Ciry, Srare.' er Code Ciry. Srare= Zr'p Code

(792) 589-_!'52@
Te lephone Number

Date of Service: November 28, 2017

PLEASE TAKE NOTICE that you are in default m payment of rent for the above-described premises in the sum of$19 155
plus $4__ |00 late fees for the period (r'nserr beginning dale c"me.'ed by rent due) .lanuury l 2016 10
(r`nsertending date covered by rent dzre) NOV€mb€!‘ 1, 2017 .R€Tll&l payment(§) became delinquent 011 (inserrjirs! date

rem \l-'as due bus nor psid) January 6, 20|6

Your failure to pay rent or vacate the premises before noon on the fifth judicial day‘ following the Date of Service of this
notice may result in your landlord applying to the justice Couzt for an eviction order. If the court determines that you are
guilty of an unlawful detainer, the court may issue a summary order for your removal or an order providing for your
nonadmittance, directing the sheriff or constable to remove you within twenty-four (24) hours alter receipt of the order.
Pursuant to NRS l 18A.390, you may seek relief if a landlord unlawfully removes you from the premises, or excludes you by
blocking or attempting to block your entry upon the premises, or willfully interrupts or causes or permits the interruption of
an essential service required by the rental agreement or chapter l lSA of the Nevada Revised Statutes.

YOU A.RE HEREBY ADVISED OF YOUR RIGHT TO CONTEST THIS NOTlCE by filing an Al`fidavit (or Ans\>\'er)`J no
later than noon on the fifth judicial day following the Date of Service of this notice, with the .]ustice Court for the

Township of dusen name anomath wherepmpem pamela Las Vegas 'l`ownshlp 7 , stating that you have
tendered payment or are not in default' m payment of rent. The Justiee Court is located at rim-maurice Caurr's address):

lOU CAN OBTAIN AN AFFlDAVlT/ANSWER F`ORM AND INFORMATEON at the Civil Law Self-Help Center,
located at the Regional Justice Center, downtown Las Vegas, or on its website, www.ClvilLawSelfHelpCenter.org.

 

 

DECLARATI()i\r OF SERVICE
On arisen dare ofseiw'ce) if § L/{/;/,'/'l 131 ~ff id g ', gil ill , l served this notice in the following manner (clreck Moue):

[:| By delivering a copy to the tenant(s) personally, in the presence of a witness (server. witness and renew man ensign landiard's

copy ofirotice}; j j j j j j

 

 

 

 

(I}Ere) (l_t;oe ar prm! name aj wrmess) (brgnarw'e qfu'rmes.s}
¢’Fenam’s signamre) _ OR nw

13 Because the tenant(s) was absent from tenants place of residence or from tenant's usual place ot`business, by leaving a
copy with moen umw , a person of suitable age and discretion at

either place AND mailing2 a copy to the tenant(s) at tenant's place of residence or place of business;
_ OR _
\];P Because tenant's place of residence or business could not be ascertained, or a person of suitable age or discretion could
not be found there, by posting a copy in a conspicuous place on the property, delivering a copy to a person there residing,
if the person could be found, AND mailingl a copy to the tenant(`s) at the place where the property is situated

l declare under penalty ofpeijury under the laws of}ie State of Nevada that the forea' jong is true adeU

 

  
 

 

 

_ 1' ype or 'prrm serve s name " (_.Sel‘ucr s srgnafurE;/____I

 

l Judicial days do not include the date ofservice__ weekends, or certain legal holidays

2 ll`lhis manner of service is used Landlord must lile with the court a "cenilicatc ol` mailing" issued by the United Slatcs Post Ollice per NRS 40_280(3 )_
{Rev, l.l_ ll]-l4-21}l-t)

%_.`= z_r}f-' » L_n'.'f flaw S'el]_-Heip Cemer, L"i_ari_r C¢: unr_v. Nevada

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W”F strauss

 

 

   

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